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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS



TERRY ROEHRMAN,                                       Civil File No. 10-CV-02222-EFM-GLR

               Plaintiff,

vs.                                                           STIPULATION OF DISMISSAL
                                                                       WITH PREJUDICE
CREDIT CONTROL SERVICES, LLC,

               Defendant.



       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the plaintiff Terry Roehrman, and the

defendant, Credit Control Services, LLC hereby stipulate to the dismissal of the above-styled

case and any claims that were raised or that could have been raised in this action, with prejudice,

each side to bear its own costs and attorneys fees.

                                              Respectfully submitted,

Dated: August 13, 2010________                By __/s/J. Mark Meinhardt
                                              J. Mark Meinhardt
                                              4707 College Boulevard, Suite 100
                                              Leawood, KS 66211
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                                              ATTORNEY FOR PLAINTIFF


Dated: August 13, 2010______                  By _/s/Anna M. Wenzel_________
                                              Anna M. Wenzel
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                                              15280 Metcalf Avenue
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